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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR75
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )              TENTATIVE FINDINGS
                                            )
RADHELL L. ROTH,                            )
                                            )
             Defendant.                     )


      The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant‘s objections thereto (Filing No. 74). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

      The Defendant objects to the PSR because it does not include a downward

adjustment for the safety valve. However, as explained by the probation officer, U.S.S.G.

§ 2D1.11, as opposed to § 2D1.1, applies to the count of conviction charging an offense

under 21 U.S.C. § 841(c)(2). While U.S.S.G. § 2D1.1 allows for a safety valve reduction,

§ 2D1.11 does not. United States v. Anton, 380 F.3d 333, 335 (8th Cir. 2004) (concluding

that the safety valve did not apply to § 2D1.11, used in the situation involving a charge

pursuant to § 841(c)(2)). Therefore, the objection is denied.

      IT IS ORDERED:

      1.     The Court’s tentative findings are that the Defendant’s Objections to the

Presentence Investigation Report (Filing No. 74) are denied;
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       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 15th day of September, 2005.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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